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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF CALIFORNIA
                         SAN FRANCISCO DIVISION



COMMUNITY LEGAL SERVICES IN EAST      SUPPLEMENTAL DECLARATION OF
PALO ALTO, et al.,                    MARION (“MICKEY”) DONOVAN-
              Plaintiffs,             KALOUST (IMMDEF) IN SUPPORT OF
                                      PLAINTIFFS’ MOTION FOR A
     v.                               PRELIMINARY INJUNCTION

UNITED STATES DEPARTMENT OF
HEALTH AND HUMAN SERVICES, et al.,

             Defendants.
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     SUPPLEMENTAL DECLARATION OF MARION DONOVAN-KALOUST
 DIRECTOR OF LEGAL SERVICES AT IMMIGRANT DEFENDERS LAW CENTER


I, Marion Donovan-Kaloust, make the following statements on behalf of myself and Immigrant
Defenders Law Center. I certify under penalty of perjury that the following statement is true and
correct pursuant to 28 U.S.C. § 1746.
   1. I incorporate my Declaration in Support of Plaintiffs’ Motion for a Temporary Restraining
      Order and Preliminary Injunction (Dkt. 7-8) as if fully set forth herein.
   2. I am the Director of Legal Services of the Children’s Representation Project (“CRP”) at
      Immigrant Defenders Law Center (“ImmDef”), where I have been employed for almost ten
      years. ImmDef is a non-profit organization headquartered in Los Angeles, California, with
      additional offices in Santa Ana, Riverside and San Diego. ImmDef believes in providing
      universal representation so that no immigrant is forced to face removal proceedings without
      an attorney or accredited representative at their side. ImmDef is the largest provider of
      legal services to unaccompanied children in California and currently provides legal
      services to children housed in seventeen Office of Refugee Resettlement (“ORR”) facilities
      throughout Southern California. ImmDef also represents thousands of unaccompanied
      children who have been released from ORR and are residing with sponsors in the Greater
      Los Angeles area.
   3. On April 1, 2025, as a result of the March 21, 2025, near total termination of funding for
      legal services for unaccompanied children, ImmDef laid off twenty-four staff out of the
      113 employees previously funded under the Unaccompanied Children’s Program (“UCP”).
      Supervisors are struggling to redistribute work and ensure no balls are dropped. Support
      that was previously available to attorneys to best represent clients is now unavailable. For
      example, we were forced to lay off multiple case managers who provided key social
      services support for our child clients. Case managers assist children with school
      enrollment, housing insecurity, and other social services needs they require to adjust to a
      new community and culture. As I stated in my prior declaration, most of our child clients
      are indigent, so having staff assist them in accessing social services is key to their ability
      to participate meaningfully in their immigration cases-- a child facing homelessness is not
      likely to be able to focus on keeping appointments with their attorney. We also know that
      our child clients often face barriers in accessing school enrollment, due to linguistic and
      cultural challenges, or schools not understanding their sponsor’s authority to enroll them
      in school. Our child clients, and thus our mission to provide comprehensive immigration
      representation, will suffer without this key support.




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4. We also laid off multiple members of our legal assistant team. These team members were
   some of the first points of contact for clients and their families and played a key role in
   maintaining files, submitting filings and supporting our client representation. As
   mentioned in my prior declaration, we have over 1,900 open cases funded under the
   terminated UCP program, and over 3,000 open cases organization wide. In such a high-
   volume practice, administrative support is key to ensuring that nothing falls through the
   cracks and that our ethical responsibilities to our clients are faithfully discharged. Without
   this support, even more burden will fall on our attorney team at a time of incredible stress,
   and at a time when unaccompanied children’s cases are being expedited through the
   deportation process.
5. We were also forced to lay off multiple members of our Detained Youth Empowerment
   Project. In addition to providing Know Your Rights presentations and legal screenings
   (which were not immediately terminated under CLIN1), these team members played an
   incredibly important role in the provision of CLIN2 services. They were some of the first
   friendly faces detained children saw in the United States, and were key sources of stability
   and empathy for children under incredible stress. These team members made referrals to
   the Young Center for Immigrant Children’s rights as well as to legal services for children
   who will reunify with a sponsor outside our service area. They also provide planning
   support for children aging out of ORR custody. This age-out support is crucial, especially
   as we expect to see more children turn eighteen and “age out” of ORR care due to changing
   ORR policies which make it increasingly difficult for children to be reunified with family
   members. Laid off staff prepared unrepresented children for court appearances and assisted
   with the provision of “Friend of Court” services. They heard shelter conditions concerns
   from children and elevated them to ORR subcontracted facility members and ORR officials
   to ensure children’s rights are respected while in government care. All of these services
   were defunded.
6. In an attempt to retain specialized attorney staff members, we transferred one attorney from
   the Children’s Representation Project onto another grant, rather than hiring externally for
   that role. With a hiring freeze in place, we cannot replace him on the Children’s
   Representation Project. Instead, other attorneys in the Children’s Representation Project
   will now have to absorb his cases into their already growing caseloads. Additionally, three
   staff members tendered their resignations in March and early April because of the
   uncertainty created by the UCP program termination and the fear they might soon be laid
   off. As mentioned in my previous declaration, our reserves will only last about six months.
   If the funding is not restored, additional layoffs impacting all positions would be required,
   with disastrous consequences for our child clients and on our mission.
7. In addition to the layoffs, resignations and reassignments, there have been multiple
   immediate impacts on the children we serve. After the UCP program partial termination,
   we reached out to the ORR-subcontracted facilities we service to let them know we could

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   not retain new clients. Some Long-Term Foster care programs had just accepted new
   children, and asked us what to do, since the children would now be without counsel. The
   government’s complete lack of a stop gap plan has left us with no guidance with which to
   address these concerns. Emergencies in these detained unaccompanied children’s cases
   are ongoing despite their lack of access to representation. One child ages out in just a couple
   months, and is losing precious time to apply for relief every day that passes they are without
   counsel. Other recently arrived children now face being warehoused until they are deported
   or age out. Without funding and with layoffs on the table, we were unfortunately unable
   to offer these children representation. The subcontracted facilities asked if they should
   stop accepting children since they will lack access to counsel, and I had to tell them that
   every single LSP in the country is facing the same drastic cut, and likely every detained
   child in the nation would be unable to access counsel.
8. Even children with counsel are experiencing additional hurdles to their ongoing
   representation. The week after the termination, a child we represent who speaks a Mayan
   language had to be prepared for an upcoming hearing. Our access to interpretation services
   had been terminated along with all representation services, and the child’s attorney was
   unable to communicate with him. Though ImmDef has a direct contract with an
   interpretation service and could thankfully pay out of pocket for these services (at least for
   now), that interpretation service does not offer Mayan languages. The attorney had to seek
   a continuance in immigration court due to the inability to communicate with her client,
   delaying the proceedings needlessly.
9. The program termination also places children in danger. The week after the termination,
   ImmDef staff learned of a significant, potentially life-threatening safety incident impacting
   a detained infant. In addition to placing the baby’s safety at risk, the incident also likely
   impacted their eligibility for legal relief. Because of the seriousness of the situation,
   ImmDef stepped in to offer support and advocacy on the child’s behalf, knowing we would
   likely not be compensated for this work. The UCP program termination has put us in a
   position that forces attorneys to choose between their moral duty to protect an infant from
   harm and working without compensation.
10. The UCP program termination has also had immediate impacts on stakeholders. As
    mentioned above, ORR subcontracted facilities are at a loss about what to do for children
    in their care who are in imminent need of representation. The same day as the UCP
    program termination, on March 21, 2025, we learned that ORR-subcontracted facilities
    were warned by ORR to prepare for expedited removal hearings for detained children.
    Over the past week, we saw those hearings roll out as subcontracted facilities struggled to
    understand their responsibilities and how to make the children available for these expedited
    hearings.




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11. At the detained juvenile docket held April 2, 2025, ImmDef represented all the children at
    facilities we serve who were scheduled on that docket and appeared on their behalf despite
    the fact that funding has not been restored in light of our ethical responsibilities to our
    clients. The week following the UCP program termination and again on April 2, the
    Immigration Judge asked whether ImmDef would be able to provide Friend of Court
    services because they help the hearings run much more smoothly and efficiently. He
    pressed the attorney appearing to find a solution that would allow us to continue to serve
    as Friend of Court. ImmDef was forced to advise him that we are assessing the situation,
    because as of now, funding has not been restored despite the TRO. Without funding, there
    is no solution to be had.
12. ImmDef has 15-25 immigration and state court hearings for children represented under the
    UCP program each week over the next month. We had over twelve hearings scheduled for
    April 2, alone. We expect the number of hearings to increase as removal cases of detained
    children continue to be expedited. Furthermore, after years of receiving very few asylum
    interview notices due to backlogs at the asylum office, in late March, after the termination
    notice, we received over ten asylum interview notices for the weeks of April 1 and April
    7, 2025, and expect to receive many more, as we have hundreds of pending asylum
    applications for unaccompanied children. While no change in scheduling priorities has
    been announced by the asylum office, ImmDef and sister organizations across the nation
    have reported that it appears unaccompanied children are suddenly being prioritized for
    asylum interview scheduling. The preparation for an asylum interview can take multiple
    weeks and dozens of hours depending on the complexity of the case. The asylum interview
    itself is typically an all-day endeavor. Interviews take place in Tustin, CA, about two hours
    from our headquarters. It is typical to have to wait two to three hours past the scheduled
    interview time, if not more, and the interview itself can take multiple hours. It is not clear
    how, without funding, we will be able to continue to represent these children at their
    hearings and interviews, but to withdraw now would seriously prejudice their cases. It is
    also not clear how we will be able to continue to sustain the increased workload caused by
    expedited hearings and asylum interviews if we are further forced to reduce staff in the
    coming weeks.
13. Unfortunately, ImmDef knows firsthand that filling this kind of gap with the assistance of
    pro bono counsel is simply not practicable. Shortly after its founding, ImmDef created a
    pro bono program in which we placed our more straightforward children’s cases with pro
    bono counsel and provided them with mentorship. Recruitment was a challenge, requiring
    a full-time pro bono coordinator as well as other support staff to try to identify sufficient
    pro bono counsel to take on even a fraction of our child clients. We placed the more
    “straightforward” cases (meaning not as legally complex and cases where the child hadn’t
    experienced extreme trauma) with pro bono attorneys because we knew that pro bono
    attorneys typically lacked the specialized training and experience to handle more complex


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       matters, even with mentorship. More complex cases, or cases with serious trauma or other
       complicating factors had to remain with our specialized staff attorneys. Unfortunately, we
       found that, while we appreciated pro bono attorneys’ generosity with their time and
       willingness to help, they typically lacked the language skills and cultural responsiveness to
       be able to build rapport with their child clients. They also needed intensive training on an
       ongoing basis due to the rapidly changing nature of immigration law. Even with these
       supports, we found that pro bono counsel unfortunately made mistakes that prejudiced or
       could prejudice their clients and in many instances, ImmDef ended up “taking back” a
       client that was previously placed with pro bono counsel either because of such mistakes or
       because the pro bono attorney requested us to when they came to fully appreciate the
       amount of work representing unaccompanied children entailed. Another issue was that
       immigration cases can take years, and many pro bono attorneys left their firms during the
       pendency of the case, asking ImmDef to take it back upon their departure. Furthermore,
       any cases we did place with pro bono attorneys were never while the child was actively in
       the custody of ORR. This is because in order to represent a child in government custody,
       an individual needs to go through extensive background checks, including fingerprinting
       and other background checks to ensure the children’s safety. These clearances can take
       several weeks if not longer to obtain, making it impracticable for pro bono attorneys to
       represent detained children, especially in light of recent expedited hearings. In sum, while
       we appreciated the generosity of the attorneys who volunteered, found that the pro bono
       model was a much less efficient and effective way to provide legal representation to
       unaccompanied children and we terminated our pro bono program as a result of these
       challenges.


I declare under penalty of perjury that the foregoing is true and correct.



Executed on the 3rd of April 2025, in Riverside, CA.



__________________________
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